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                                   EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                               1-16-cv-24818—MARTINEZ/GOODMAN

   JAMIE BRYANT, individually and on
   behalf of all others similarly situated,

           Plaintiff,

   v.

   WAL-MART STORES, INC.,

         Defendant.
   __________________________________/

    [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR COURT-ORDERED
          SETTLEMENT CONFERENCE WITH THE MAGISTRATE JUDGE

           THIS CAUSE having come before the Court on Plaintiff’s Motion for a Court-Ordered

   Settlement Conference with the Magistrate Judge. This Court having considered the motion and

   all other relevant factors, it is hereby

           ORDERED AND ADJUDGED that:

           The Motion is GRANTED. The Parties are ordered to attend a settlement conference with

   the Magistrate Judge on ___________________.

           DONE AND ORDERED in Chambers at _________________________, Florida, this

   __________ day of June, 2020.

                                                     ____________________________________
                                                     JOSE E. MARTINEZ
                                                     UNITED STATES DISTRICT JUDGE

   Copies furnished to:
   All Counsel of Record
